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                          UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF NORTH CAROLINA
                                GREENSBORO DIVISION

     In Re:                                      )
                                                 )
     Avery Bradley Green,                        )       Case No.: B-17-11043 C-11G
                                                 )
                     Debtor.                     )

  APPLICATION TO APPROVE EMPLOYMENT OF REAL ESTATE BROKER AND
    SPECIAL LEGAL COUNSEL FOR GREEN MANOR REST HOME FACILITY

      NOW COMES the undersigned Trustee in this case, pursuant to Section 327(a) of the
Bankruptcy Code, and respectfully states to the Court:

       1.      It is necessary or advisable for the Trustee to have the services of a real estate
broker to assist in selling certain real estate in which the Debtor has ownership interests, being
the Green Manor Rest Home facility and real estate located at 1165 W. Parkton-Tobermory
Road, Parkton, Robeson County, N.C., with any such sale subject to approval of the Court and
the Trustee.

        2.      Jordan Qualls with Howard Perry & Walston Commercial, LLC is a duly
qualified real estate broker with experience in such matters, and the Trustee wishes to use his
services as real estate broker in this case. Attached hereto as an exhibit is the proposed listing
agreement for the broker’s employment in selling the real estate.

        3.      To the best of the Trustee’s knowledge, except as provided in paragraphs 4 and 5
below, the proposed real estate broker has no connection with the Debtor, creditors or any other
party-in-interest, or their respective attorneys or accountants and is eligible under the Bankruptcy
Code for employment for the purposes set forth in this application. Mr. Qualls' affidavit of
disinterestedness is attached.

         4.     The Green Manor Rest Home facility and real estate located at 1165 W. Parkton-
Tobermory Road, Parkton, Robeson County, N.C. has a certain certificate of need for 82 adult
care beds within Robeson County ("Beds"). Attached is an Exclusive Right to Sell Listing
Agreement for the Beds between the Heirs of Zeddie Green as Client and Qualls, PLLC as
special legal counsel which Agreement terminates (see paragraph 10) if the Beds and real estate
are sold concurrently to the same buyer but which otherwise authorizes special legal counsel to
list the Beds for sale on the terms as set forth therein. Jordan Qualls with Qualls, PLLC is a duly
qualified broker and special legal for the Beds with experience in such matters, and the Trustee
wishes to use his services as broker and special legal counsel for the Beds in this case.

        5.      It is necessary or advisable for the Trustee to have the services of a real estate
broker to assist in selling certain real estate owned by Yreva Enterprises, LLC, of which the
Debtor is the sole holder of ownership interests, being the facility and real estate located at 4501
Old Battleground Road, Greensboro, Guilford County, N.C. (the "Old Battleground Real
Estate"). Jordan Qualls with Howard Perry & Walston Commercial, LLC is a duly qualified real
estate broker with experience in such matters, and the Trustee wishes to use his services as real
estate broker in this case. Attached hereto as an exhibit is the proposed listing agreement for the
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broker’s employment in selling the real estate owned by Yreva Enterprises, LLC. From the
Courts' reasoning in In re Hopkins, 2012 WL 423916, 2012 Bankr. LEXIS 801 (W.D. Michigan
2012) and in In re Allan George Casavant, Middle District of North Carolina case no. 13-80379
C-7D, Doc 76 filed 9/18/15, the Trustee infers that practice and procedure differs with respect to
the sale of the real estate owned by Yreva Enterprises, LLC as compared to real estate which is
property of the estate.

         Wherefore, the Trustee requests that the Court enter an Order authorizing the Trustee to
retain Jordan Qualls with Howard Perry & Walston Commercial, LLC as real estate broker with
such services to be compensated from the estate pursuant to Bankruptcy Code §330(a), subject to
the review and approval by the Bankruptcy Court as part of the application to approve any sale,
if and only if there occurs a private sale in accordance with the listing agreement attached to this
application; authorizing the Trustee to retain Jordan Qualls with Qualls PLLC as broker and
special legal counsel with respect to the Beds, with such services to be compensated from the
estate pursuant to Bankruptcy Code §330(a), subject to the review and approval by the
Bankruptcy Court as part of the application to approve any sale, if and only if there occurs a
private sale in accordance with the listing agreement attached to this application; granting such
relief as is appropriate with respect to the Old Battleground Real Estate; and granting such other
relief as to the Court may seem just and proper.

       Respectfully submitted on this the 20th day of March, 2018.



                                                     s/ Everett B. Saslow, Jr.
                                                     Everett B. Saslow, Jr.
                                                     N.C. State Bar No. 7301

OF COUNSEL:
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                               CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing Application to Approve Employment of
Real Estate Broker and Special Legal Counsel for Green Manor Rest Home Facility was served
by United States First Class Mail, upon the following parties:

                    Jordan Qualls
                    1001 Wade Avenue, Suite 111
                    Raleigh, NC 27605

                    Avery Bradley Green
                    P.O. Box 38338
                    Greensboro, NC 27438

                    Phillip Bolton
                    Post Office Box 10247
                    Greensboro, NC 27404-0247

       This the 20th day of March, 2018.

                                                  s/ Everett B. Saslow, Jr.
                                                  Everett B. Saslow, Jr.
